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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

KATHLEEN TANKERSLEY, Case No.
5:21-cv-00623-JGB-KK
Plaintiff,
VS. NOTICE OF VOLUNTARY
DISMISSAL OF DEFENDANT EOS
CCA WITH PREJUDICE

FLAGSHIP CREDITACCEPTANCE, | PURSUANTTOFRCP41(a)Q)(A)@)

LLC, and DOES 1 through 10, inclusive,
Defendant.

 

 

Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(), Plaintiff Kathleen Tankersley,
by and through her undersigned counsel of record, hereby voluntarily dismisses
Defendant Flagship Credit Acceptance, LLC. with prejudice, with each party to
bear its own costs and attorneys’ fees.

Respectfully submitted this 9* Day of September, 2021.

LAW OFFICE OF PAUL MANKIN, APC
By: s/ L. Paul Mankin
Counsel for Plaintiff, Kathleen Tankersley

 
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Filed electronically on this 9 day of September, 2021 with:
United States District Court CM/ECF system

Notification sent electronically via the Court’s ECF system to:
The Honorable Jesus G Bernal.

United States District Court

Central District of California

This 9 day of September, 2021.

/s/L. Paul Mankin
L. Paul Mankin

 
